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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

TIM MCCORMICK,

   Plaintiff

-vs-

ABILITY RECOVERY SERVICES,
                                                   CASE NO.: 8:18-CV-01239-EAK-MAP
   Defendant.
                                      /

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        COMES NOW the Plaintiff, Tim McCormick, by and through his undersigned attorney,

in the above-titled action and represents to the Court that this matter has been resolved between

the parties, and requests an entry of a Final Order of Dismissal with Prejudice in this matter as to

Ability Recovery Services, LLC with each party to bear its own costs and attorneys’ fees.

                                              /s/ Shaughn C. Hill
                                               Shaughn C. Hill, Esquire
                                               Morgan & Morgan, Tampa, P.A.
                                               One Tampa City Center
                                               Tampa, FL 33602
                                               Tele: (813) 223-5505
                                               Fax: (813) 223-5402
                                               shill@forthepeople.com
                                               Florida Bar #: 105998
                                               Attorney for Plaintiff


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

U.S. Mail this 24th day of August, 2018 to: Ability Recovery Services, LLC located at P.O. Box

4262, Scranton, PA 18505.
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                                  /s/Shaughn C. Hill, Esq.
                                  Shaughn C. Hill, Esq.
                                  Florida Bar No.:105998
                                  Attorney for Plaintiff
